Case 2:25-cv-00127-JCC   Document 12-6   Filed 01/21/25   Page 1 of 3




                  POLOZOLA DECLARATION
                                                    EXHIBIT 6
                        Case 2:25-cv-00127-JCC                      Document 12-6     Filed 01/21/25          Page 2 of 3

                                                                               I am a
                                                                               U.S. citizen                                            A4

                                                                               How do I get proof
                                                                               of my U.S. citizenship?



If you were born in the United States, you do not need to apply               I am a U.S. citizen. My child will be born abroad or recently
to USCIS for any evidence of citizenship. Your birth certificate issued       was born abroad. How do I register his or her birth and
where you were born is proof of your citizenship.1                            U.S. citizenship?
If you were born outside the United States, but one or both                  Please contact the U.S. Department of State or the U.S. Embassy
of your parents were U.S. citizens when you were born,                       or consulate in the country where your child will be born for more
you may still be a U.S. citizen. This is called citizenship through          information about eligibility requirements and how to register your
derivation. There are usually additional specific requirements, and          child’s U.S. citizenship.
sometimes citizenship can be through a combination of a parent and
grandparent.
                                                                              I was born overseas. My birth and U.S. citizenship were
                                                                              registered with the U.S. Embassy or consulate.
    What documents are usually accepted as proof of U.S.                      I need a copy of the evidence of my citizenship. Whom
    citizenship?                                                              should I contact?
The most common documents that establish U.S. citizenship are:               Contact the U.S. Department of State. For more information, please
     • Birth Certificate, issued by a U.S. State (if the person was          see their Web site at www.state.gov.
       born in the United States), or by the U.S. Department of State
       (if the person was born abroad to U.S. citizen parents who             I was born overseas. I believe I was a U.S. citizen at birth
       registered the child’s birth and U.S. citizenship with the U.S.        because one or both my parents were U.S. citizens when I
       Embassy or consulate);                                                 was born. But my birth and citizenship were not registered
     • U.S. Passport, issued by the U.S. Department of State;                 with the U.S. Embassy when I was born. Can I apply to
     • Certificate of Citizenship, issued to a person born outside the        have my citizenship recognized?
       United States who derived or acquired U.S. citizenship through a      Whether or not someone born outside the United States to a U.S.
       U.S. citizen parent; or                                               citizen parent is a U.S. citizen depends on the law in effect when
     • Naturalization Certificate, issued to a person who became             the person was born. These laws have changed over the years, but
       a U.S. citizen after 18 years of age through the naturalization       usually require a combination of the parent being a U.S. citizen when
       process.                                                              the child was born, and the parent having lived in the United States
                                                                             or its possessions for a specific period of time. Derivative citizenship
                                                                             can be quite complex and may require careful legal analysis.
    I was born in the United States. Where can I get a copy of
    my birth certificate?
                                                                              I was born overseas. One of my parents was a U.S.
Check with the Department of Health (Vital Records) in the U.S.               citizen but never lived in the United States. One of my
State in which you were born. For more information, visit the                 grandparents was also a U.S. citizen. Could I have derived
National Center for Health Statistics web page at www.cdc.gov/                U.S. citizenship?
nchs/births.htm.
                                                                             If your parent was a U.S. citizen when you were born but had not
                                                                             lived in the United States for the required amount of time before
                                                                             your birth, but one of your grandparents was also a U.S. citizen
1
 An exception to this rule exists regarding children born in the United      and had already met the residence requirements, then you may still
States to foreign diplomats.


A4—I am a U.S. citizen…How do I get proof of my U.S. citizenship?
M-560B (October 2013) N
                                                                                                                                                   1
                       Case 2:25-cv-00127-JCC
                               The provisions of immigrationDocument  12-6 Filed 01/21/25 Page 3 of 3
have derived U.S. citizenship.                               law that
govern derivative citizenship are quite precise and circumstances in
                                                                       Key Information
individual cases can be complex. For specific information on how        Key USCIS forms referenced                        Form #
the law applies, please check our Web site at www.uscis.gov, or         in this guide
the U.S. Department of State Web site at www.state.gov, or call
                                                                        Application for Certificate of Citizenship      N-600
USCIS Customer Service at 1-800-375-5283.
                                                                        Application for Replacement Naturalization      N-565
                                                                        Citizenship Document
 I was born overseas. After I was born, my parent(s)
 became naturalized U.S. citizens. Could I have derived U.S.            Other U.S. Government Services–Click or Call
 citizenship?
                                                                        General        www.usa.gov                 1-800-333-4636
If one of your parents naturalized after February 27, 2001, and         Information
you were a permanent resident and under 18 years old at the time,
then you may have automatically acquired U.S. citizenship. Before       New            www.welcometoUSA.gov
that date, you may have automatically acquired U.S. citizenship if      Immigrants
you were a permanent resident and under 18 years old when both          U.S. Dept.     www.state.gov               1-202-647-6575
parents naturalized, or if you had only one parent when that parent     of State
naturalized.                                                            National       www.cdc.gov
However, if your parent(s) naturalized after you were 18, then you       Center           www.cdc.gov/nchs                1-800-311-3435
will need to apply for naturalization on your own after you have         for Health       /birth.htm
been a permanent resident for at least 5 years.                          Statistics


How do I apply to have my citizenship recognized?
You have two options:
  • You can apply to the U.S. Department of State for a U.S.
    passport. A passport is evidence of citizenship and also serves            For more copies of this guide, or information about
    as a travel document if you need to travel. For information about          other customer guides, please visit
    applying for a U.S. passport, see the U.S. Department of State             www.uscis.gov/howdoi.
    Web site at www.state.gov.
  • If you are already in the United States, you also have the
    option of applying to USCIS using Form N-600, Application for              You can also visit www.uscis.gov to download
    Certificate of Citizenship. However, you may find applying for             forms, e-file some applications, check the status of
    a passport to be more convenient because it also serves as a               an application, and more. It’s a great place to start!
    travel document and could be a faster process.
                                                                               If you don’t have Internet access at home
How do I replace a lost, stolen, or destroyed Naturalization                   or work, try your local library.
Certificate or Certificate of Citizenship?
To apply to replace your Naturalization Certificate or Certificate             If you cannot find what you need, please call
of Citizenship issued by USCIS or by the U.S. Immigration and                  Customer Service at: 1-800-375-5283
Naturalization Service, file a Form N-565, Application for                     Hearing Impaired TDD Customer Service:
Replacement Naturalization Citizenship Document. Filing instructions           1-800-767-1833
and forms are available on our Web site at www.uscis.gov.




                                                                                      Disclaimer: This guide provides basic information
                                                                                      to help you become generally familiar with our
                                                                                      rules and procedures. For more information, or
                                                                                      the law and regulations, please visit our Web
                                                                                      site. Immigration law can be complex, and it is
                                                                                      impossible to describe every aspect of every
                                                                                      process. You may wish to be represented by
                                                                                      a licensed attorney or by a nonprofit agency
                                                                                      accredited by the Board of Immigration Appeals.




A4—I am a U.S. citizen…How do I get proof of my U.S. citizenship?
M-560B (October 2013) N
                                                                                                                                           2
